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                                   UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF �ALIFORNIA

 UNITED STATES OF AMERICA,
                                                                Case No. 21-cr-00914-TWR

                                             Plaintiff,
                          vs.
                                                                JUDGMENT OF DISMISSAL
Jesus Reyes-Castro                                                                                   ·.--·o
                                                                                              F I I- a.:
                                          Defendant.                                          SEP 2 8 2021
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IT APPEARING that the defendant is now entitled to be discharged Tor the reasori tnat:

        an indictment has been filed in another case against the defendant and the Court has
  IZl
        granted the motion of the Government for dismissal of this case, without prejudice; or
  □     the Court has dismissed the case for unnecessary delay; or

 □      the Court has granted the motion of the Government for dismissal, without prejudice; or

 □      the Court has granted the motion of the defendant for a judgment of acquittal; or

 □      a jury has been waived, and the Court has found the defendant not guilty; or

 □      the jury has returned its verdict, finding the defendant not guilty;

 IZl    of the offense(s) as charged in the Indictment/Information:
 IZl    Ct 1-4 - 21:952,960 - Importation of Methamphetamine, Heroin, Cocaine and Fentanyl




 Dated:         q i/&j/2- I                                  n. Jill CBurkhardt
                                                             ited States Magistrate Judge
